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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION -- LEXINGTON

UNITED STATES OF AMERICA,                            CRIMINAL NO. 5:15-72-KKC
      Plaintiff,

V.                                                               ORDER

LUIS AGUIRRE-JERARDO,
      Defendant.


                                        ********

     This matter is before the Court on the defendant’s motion to vacate his sentence (DE

184) under 28 U.S.C. § 2255 and the magistrate judge’s recommendation that the motion be

dismissed without prejudice (DE 186).

       The defendant pleaded guilty to distributing fentanyl resulting in an overdose death.

By judgment dated August 17, 2017, the Court sentenced the defendant to a prison term of

336 months (DE 158, Judgment.)

     The magistrate judge has entered a recommendation that the defendant’s current

petition be dismissed without prejudice. The defendant has not filed any objections to the

recommendation. Further, the Court has reviewed the recommendation and agrees with its

analysis.

     Accordingly, the Court hereby ORDERS as follows:

     1) the Recommended Disposition (DE 186) is ADOPTED as the Court’s opinion;

     2) the defendant’s motion to vacate under 28 U.S.C. § 2255 (DE 184) is DISMISSED

            without prejudice;
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   3) a certificate of appealability will not be issued, the defendant having failed to

      make “a substantial showing of the denial of a constitutional right.” 28 U.S.C.

      § 2253(c)(2); and

   4) a judgment consistent with this order and the Report and Recommendation will be

      entered.

 Dated November 1, 2018.




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